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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 14-cv-61572-BLOOM/Valle


  WADE GAINES KILPATRICK,
  individually and on behalf of others
  similarly situated,

         Plaintiffs,
  v.

  CARIBBEAN CRUISE LINE, INC., et al.,

        Defendants.
  _____________________________________/

                                   FINAL ORDER OF DISMISSAL

         THIS CAUSE is before the Court upon the parties’ Stipulation of Dismissal with

  Prejudice, ECF No. [161]. The Court having considered the Stipulation and being otherwise

  duly informed therein, it is

         ORDERED AND ADJUDGED that the parties’ Stipulation of Dismissal with Prejudice,

  ECF No. [161], is approved and adopted, and the matter is DISMISSED WITH

  PREJUDICE with each party to bear their own attorneys’ fees and costs. To the extent not

  otherwise disposed of, all pending motions are DENIED as moot. The CLERK is directed to

  CLOSE this case.

         DONE AND ORDERED in Miami, Florida, this 12th day of September, 2016.




                                                     BETH BLOOM
                                                     UNITED STATES DISTRICT JUDGE

  Copies to:
  Counsel of Record
